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     Federal Defender
2    HANNAH R. LABAREE, Bar #294338
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5
6    Attorneys for Defendant
     DASSANY KEOPHIMANH
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 2:10-cr-042 MCE
12
                               Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     DASSANY KEOPHIMANH,                                 RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Hon. MORRISON C. ENGLAND

17             Defendant, DASSANY KEOPHIMANH, by and through her attorney, Assistant Federal
18   Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through
19   its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On May 16, 2013, this Court sentenced Mr. Keophimanh to a term of 97 months

25   imprisonment;

26             3.         Mr. Keophimanh’s total offense level was 29, her criminal history category was

27   II, and the resulting guideline range was 97 to 121 months;

28

     Stipulation and Order Re: Sentence Reduction         1
       Case 2:10-cr-00042-TLN Document 258 Filed 11/10/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Keophimanh was subsequently lowered
2    by the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Keophimanh’s total offense level has been reduced from 29 to 27, and her
5    amended guideline range is 78 to 97 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Keophimanh’s term of imprisonment to a term of 78 months.
8    Respectfully submitted,
9    Dated: November 4, 2015                            Dated: November 4, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt______                              /s/ Hannah R. Labaree __
     JASON HITT                                         HANNAH R. LABAREE
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           DASSANY KEOPHIMANH
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     Stipulation and Order Re: Sentence Reduction          2
       Case 2:10-cr-00042-TLN Document 258 Filed 11/10/15 Page 3 of 3



1                                                        ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Keophimanh is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
6    guideline range of 78 to 97 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2013 is
8    reduced to a term of 78 months.
9              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
11   reduction in sentence, and shall serve certified copies of the amended judgment on the United
12   States Bureau of Prisons and the United States Probation Office.
13             Unless otherwise ordered, Mr. Keophimanh shall report to the United States Probation
14   Office within seventy-two hours after her release.
15             IT IS SO ORDERED.
16   DATED: November 9, 2015
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19                                                  MORRISON
                                                           N C. ENGL
                                                                   LAND, JR.
                                                                           ., CHIEF JUDGE
                                                    UNITED S
                                                           STATES DI
                                                                   ISTRICT C
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     Stipulation and Order Re: Sentence Reduction           3
